        Case 17-69919-mgd                Doc 9 Filed 11/14/17 Entered 11/14/17 15:46:32                               Desc 7-day
                                            order grant aplc. instal Page 1 of 1
                                           UNITED STATES BANKRUPTCY COURT
                                                Northern District of Georgia
                                                     Atlanta Division


In Re: Debtor(s)
       James Bernard Byrd Jr.                                          Case No.: 17−69919−mgd
                                                                       Chapter: 13


   ORDER GRANTING APPLICATION TO PAY FILING FEE IN INSTALLMENTS FOR
                    INDIVIDUALS OR JOINT DEBTORS
       Debtor or Debtors (hereinafter Debtors) has filed an application to pay the filing fee in three installments, but did
not remit in full the initial payment due at the time of filing. Accordingly, it is ORDERED that:

       1. Debtor's application is granted, provided that Debtor shall pay the balance due on the initial filing fee
installment payment, in the amount of $74.00 by November 21, 2017. If Debtor fails to pay timely this initial filing
fee installment, Debtor's case will be dismissed without further notice or opportunity for hearing.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                                   United States Bankruptcy Court
                                                    1340 Richard Russell Building
                                                      75 Ted Turner Drive, SW
                                                         Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is not
accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional office will
accept these forms of payment as well as cash.

      2. If the Debtor remits the initial installment in full, debtor shall pay an amount not less than one−half of the unpaid
balance of the filing fee as the second installment within 30 days of the petition date; and Debtor shall pay the remaining
unpaid balance of the filing fee as the final installment within 60 days of the petition date:

    Second installment of $117.50 on or before December 13, 2017 .
    Final installment of $117.50 on or before January 12, 2018.

      3. Failure by Debtor to pay timely the second or final installment will result in dismissal of the case without
opportunity for hearing.

      4. In accordance with Bankruptcy Rule 1006(b)(3), until the filing fee is paid in full, Debtor shall not pay, and no
person shall accept, any money for services in connection with Debtor's case, and Debtor shall not relinquish, and no
person shall accept, any property as payment for services in connection with this case.

      The Clerk will serve this Order on Debtor, Debtor's counsel, and Trustee.

  SO ORDERED, on November 14, 2017 .



 Mary Grace Diehl
 United States Bankruptcy Judge
Form 307 (7−Day Order Granting Application to Pay Filing Fee in Installments of Individual Chapter 7, 11, 12, or 13 cases. − Revised June,
2015)
